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      Even if the requirement were to be dropped
      from Google, Meta, or Microsoft - we would
      still continue our LegitScript certification.
      IARC CO-FOUNDER SHANE LEONARD



         Read the Case Study (/customers/iarc/)




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